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                                  CERTIFICATE OF SERVICE

         I, Michelle A. Parfitt, hereby certify that on March 16, 2017, I electronically filed the

  foregoing document with the Clerk of the Court using the CM/ECF system which will send

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